                          IN THE DISTRICT COURT OF GUAM
                                TERRITORY OF GUAM
                                 CRIMINAL MINUTES
                                     GENERAL


CASE NO.: MJ-20-00092                       DATE: September 01, 2020

HON. MICHAEL J. BORDALLO, Magistrate Judge, Presiding
Law Clerk: Judith P. Hattori               Court Recorder: Walter Tenorio
Courtroom Deputy: Walter M. Tenorio        Hearing Times: 10:53 - 10:55

APPEARANCES:
Defendant: Ricky James Jr. Salas Santos          Attorney: Briana Kottke
   Present    Custody   Bond    P.R.              Present   Retained    FPD    CJA
U.S. Attorney: Rosetta San Nicolas                                           U.S. Agent:
U.S. Probation: Janet Yamashita - telephonic appearance
Interpreter:                                                                 Language:

PROCEEDINGS: Detention Hearing
   Mrs. Kottke moved to withdraw the detention hearing and will file a motion at a later
    date.
   Defendant remanded to the custody of the U.S. Marshals Service.



NOTES:




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